                                     IN THE UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF VIRGINIA
                                              DANVILLE DIVISION

                   CRIMINAL MINUTES – ARRAINGMENT AND GUILTY PLEA HEARING

 Case No.: 4:18CR00011-007                    Date: 11/6/2018

 Defendant: Matthew Caesar Ferguson, custody                         Counsel: Fred Heblich, FPD

 PRESENT:          JUDGE:                     Michael F. Urbanski, CUSDJ          TIME IN COURT: 4:40-5:22 42 minutes
                   Deputy Clerk:              Kristin Ayersman
                   Court Reporter:            Mary Butenschoen
                   U. S. Attorney:            Heather Carlton, Ron Huber
                   USPO:                      Larry Breckenridge
                   Case Agent:                Devin Taylor, FBI
                   Interpreter:               none

 ARRAINGMENT PROCEEDINGS AND CHANGE OF PLEA PROCEEDINGS:

           USA moves to unseal superseding indictmentas to this defendant only – granted by oral order.
           Defendant states that true name is Matthew Casear Ferguson. Defendant has been given a copy of Indictment.
           Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
           advises defendant of his/her rights, and the nature and possible consequences of plea.
           Defendant(s) waives reading of Superseding Indictment.

 DEFENDANT(S) PLEADS:

  DEF. #             GUILTY                 NOT GUILTY            NOLO                       REMARKS
            Ct 1
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           Defendant(s) is re-arraigned specifically as to Count One of the Superseding Indictment and specifically advised of
           rights (Rule 11 F.R.C.P).
           Court accepts plea of guilty.
           Guilty plea form executed and filed; SOF filed with court.
           Government summarizes evidence to support plea and rests.
           Court finds defendant guilty as charged in Counts One.
           Court orders Presentence Report.
           Defendant remanded to custody. FPD notes defendant’s family is present in courtroom for support.
           Sentencing hearing scheduled for TBA before Judge Urbanski.

 Additional Information:
 Court notes for defendant that Count 1 of indictment and Count 1 of superseding indictment is substantively the same for this
         defendant – statement agreed with by defendant/FPD – the defendant understands that the arraignment is for the
         superseding indictment and his plea agreement is also for the superseding indictment. The defendant understands
         that the other charges in the superseding indictment against this defendant are also the same as those in the




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       indictment, but were renumbered in the superseding indictment.




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